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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

    UNITED STATES OF AMERICA §
                                                §
    v.       §      No.          4:21-CR-313
                                                § Judge Jordan
    ROBERT TYRONE ADAMS JR. §



                                        FACTUAL BASIS

          The defendant, ROBERT TYRONE ADAMS JR., hereby stipulates and agrees

   that at all times relevant to the Indictment, the following facts were true:

   1. lam the same person charged in the Indictment, and I am pleading guilty to Count

          One, Engaging in the Business Without a License (Firearms).

  2. The events described in the Indictment occurred in the Eastern District of Texas

          and elsewhere.

   3. lam not currently, nor have I ever been licensed to deal fireai s within the

          meaning of Chapter 44, Title 18 United States Code.

  4. From on or about August 1, 2021 through on or about November 10, 2021,1

          willfully engaged in the business of dealing firearms. During that time period I

          sold approximately 70 firearms for profit.



                DEFENDANT S SIGNATURE AND ACKNOWLEDGMENT

          I have read or had read to me this factual basis and have discussed it with my

  attorney. I fully understand the contents of it and agree without reservation that it

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   accurately describes the events and my acts.




                                             ROBERT TYRONE ADAMS JR.
                                             Defendant

        DEFENDANT S COUNSEL S SIGNATURE AND ACKNOWLEDGMENT

           I have read this factual basis and have reviewed it with the defendant. Based upon

   my discussions with the defendant, I am satisfied that the defendant understands it.




   Dated:
                                             BRIAN O SHEA
                                             Attorney for the Defendant




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